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 1                  IN THE UNITED STATES DISTRICT COURT

 2                      FOR THE DISTRICT OF COLUMBIA

 3   UNITED STATES OF AMERICA       .
                     Plaintiff,     .
 4   vs.                            .       Docket No. CR 19-18-ABJ
                                    .
 5   ROGER JASON STONE, JR.         .       Washington, D.C.
                                    .       Tuesday, January 29, 2018
 6                   Defendant.     .
     . . . . . . . . . . . . . . . .x       11:00 a.m.
 7

 8                   TRANSCRIPT OF ARRAIGNMENT HEARING

 9    BEFORE THE HONORABLE MAGISTRATE JUDGE DEBORAH A. ROBINSON

10                     UNITED STATES DISTRICT JUDGE

11   APPEARANCES:

12   For the Government:     Michael Marando, AUSA
                             Jonathan Ian Kravis, AUSA
13                           U.S. ATTORNEY'S OFFICE FOR
                             THE DISTRICT OF COLUMBIA
14                           555 Fourth Street, NW
                             Washington, DC 20530
15
                             Jeannie Sclafani Rhee
16                           Aaron Zelinsky
                             U.S. DEPARTMENT OF JUSTICE
17                           Special Counsel's Office
                             950 Pennsylvania Avenue, NW
18                           Washington, DC 20530

19
     For the Defendant:      Robert C. Buschel, Attorney-at-Law
20                           BUSCHEL & GIBBONS, P.A.
                             One Financial Plaza
21                           100 S.E. Third Avenue - Suite 1300
                             Ft. Lauderdale, FL 33394
22
                             Grant J. Smith, Attorney-at-Law
23                           STRATEGYSMITH, P.A.
                             401 East Las Olas Boulevard
24                           Suite 130-120
                             Ft. Lauderdale, FL 33301
25
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 1   Court Reporter:    Cathryn J. Jones, RPR
                        Official Court Reporter
 2                      Room 6521, U.S. District Court
                        333 Constitution Avenue, N.W.
 3                      Washington, D.C. 20001

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 7   Proceedings recorded by machine shorthand, transcript
     produced by computer-aided transcription.
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 1                         P R O C E E D I N G S

 2              THE COURT:     Good morning.

 3              THE DEPUTY CLERK:     This is Criminal Case, year

 4   2019-018, United States of America versus Roger Jason Stone,

 5   Jr.

 6              Aaron Zelinsky, Jeannie Rhee, Jonathan Kravis, and

 7   Michael Marando for the government.        Grant Smith, Robert

 8   Buschel for the defense, Pretrial officer is Christine

 9   Schuck.   This case is on the calendar for an arraignment.

10              THE COURT:     Now again, good morning to all of you.

11   We are here for arraignment, the defendant having appeared

12   voluntarily after being released on conditions by a judge of

13   the Southern District of Florida.

14              Mr. Stone, you are again advised, sir, that you

15   are not required to make any statement concerning the

16   charges in the indictment, and that any statement you make

17   may be used against you.      You are advised that you have the

18   right to the assistance of counsel.        The Court has granted

19   the motions of counsel not admitted to practice in this

20   district to appear on your behalf pro hoc vice.

21              Now Mr. Buschel, are you ready to proceed with the

22   arraignment?

23              MR. BUSCHEL:     Yes, Judge.

24              THE COURT:     Very well.    Let me ask you to come to

25   the podium, please.     Good morning.
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 1              MR. BUSCHEL:     Good morning.

 2              THE COURT:     Did you receive a copy of the

 3   indictment, Mr. Buschel?

 4              MR. BUSCHEL:     Yes, two copies.

 5              THE COURT:     And have you had an opportunity to

 6   review the indictment with Mr. Stone?

 7              MR. BUSCHEL:     Yes.

 8              THE COURT:     And on behalf of Mr. Stone, do you

 9   waive formal reading of the indictment?

10              MR. BUSCHEL:     Yes, ma'am.

11              THE COURT:     And with respect to a plea?

12              MR. BUSCHEL:     Not guilty.

13              THE COURT:     Thank you very much, Mr. Buschel, a

14   plea of not guilty will be entered.

15              MR. BUSCHEL:     Thank you.

16              THE COURT:     You may be seated.     Thank you.

17              The matter is on the calendar of U.S. District

18   Judge Amy Berman Jackson as you know.        Judge Jackson has

19   asked that you be available for a status hearing either

20   tomorrow or Thursday.      I do not know whether you've had an

21   opportunity to confer regarding dates and times.          If you

22   have not may I ask you to do so now, please.

23              [Brief pause.]

24              THE COURT:     You have been offered the following

25   dates and times; Wednesday, January 30th, any time after
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 1   10:30 a.m., Thursday, January 31st at any time in the

 2   afternoon, and Friday, February 1st at 10:30 a.m., or

 3   anytime thereafter.      Mr. Marando, thank you.

 4              MR. MARANDO:     Thank you, your Honor.      The parties

 5   have confirmed and February 1st works for everybody.

 6              THE COURT:     And is your preference 10:30 a.m., or

 7   a later time?

 8              MR. BUSCHEL:     Later time.

 9              MR. MARANDO:     A later time, your Honor.

10              THE COURT:     Would the two of you confer, please,

11   and agree upon a time certain.

12              MR. MARANDO:     One-thirty works for all the

13   parties, your Honor.

14              THE COURT:     Very well, 1:30 p.m., and that will be

15   in this courtroom.      Thank you very much.     Now Mr. Marando or

16   Ms. Rhee, I understand that one of you will address the

17   issue of conditions of release?        Ms. Rhee, good morning.

18              MS. RHEE:     Actually, your Honor, Mr. Marando is

19   going to be speaking on behalf of the government, but I want

20   to clarify that Mr. Marando comes from the DC U.S.

21   Attorney's Office.      Mr. Zelinsky and I are from the Special

22   Counsel's office, but both offices are jointly trying this

23   case and have entered notices of appearance, and speaking

24   for us today will be Mr. Marando.

25              THE COURT:     Very well.    Thank you very much,
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 1   Ms. Rhee.    Mr. Marando.

 2               MR. MARANDO:     Your Honor, we are requesting no

 3   change in the conditions of release that were imposed by the

 4   court in Florida.    We would like all the same conditions to

 5   apply in this court that were set down there.

 6               THE COURT:     Very well.   Thank you very much.      Do

 7   you wish to be heard regarding conditions, Mr. Buschel?

 8               MR. BUSCHEL:     No, your Honor.

 9               THE COURT:     Very well.   Thank you very much.      This

10   Court through this court's Pretrial Services Agency will

11   complete a release order for this court.          Now Mr. Stone --

12               THE DEFENDANT:     Yes, your Honor.

13               THE COURT:     Mr. Stone, at this time this Court

14   will release you on the same conditions set by the court in

15   the Southern District of Florida.        The same financial

16   conditions and other conditions including the order that you

17   have no contact at all with any of the witnesses in this

18   case.   I will rely upon your lawyers to identify the names

19   of the individuals with whom you should have no contact.

20   You are to have no passport in your possession or apply for

21   any passport while this matter is pending.

22               Other than travel from the Southern District of

23   Florida to this court, and the travel that the judge in

24   Florida permitted to the Eastern District of New York, you

25   are not to travel while this case is pending.          You are to
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 1   report to this court's Pretrial Services Agency office once

 2   each week by telephone.      The number that you must call will

 3   appear on your release order.

 4              Your final condition, sir, is that you return to

 5   court whenever your appearance in court is required.              Your

 6   next scheduled court appearance is, of course, Friday,

 7   February 1st at 1:30 p.m. in this courtroom, Courtroom 3.

 8              You are advised that your willful failure to

 9   appear for that hearing, or for any other hearing in your

10   case will be a separate offense for which you can face an

11   additional period of incarceration or a fine or both.              Do

12   you understand, sir?

13              THE DEFENDANT:     Yes, your Honor.

14              THE COURT:    Very well.    Thank you very much.         You

15   may be seated.

16              [Brief pause.]

17              THE COURT:    Ms. Schuck, the Court must interrupt

18   you and you as well, counsel, for one moment to note that

19   the Court should have added as a condition of release,

20   Mr. Stone, that when you leave the courtroom you go

21   immediately to the marshal service office on the lower level

22   to complete booking.     Do you understand, sir?

23              THE DEFENDANT:     Yes, your Honor.

24              THE COURT:    Very well.    Thank you.

25              [Brief pause.]
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 1              THE DEPUTY CLERK:     Mr. Stone, please stand and

 2   raise your right hand.      Do you solemnly swear to follow the

 3   conditions of your release as set forth by this Court, so

 4   help you God?

 5              THE DEFENDANT:     I do.

 6              THE COURT:     Thank you.     Counsel, is there anything

 7   further with respect to this matter this morning,

 8   Mr. Buschel?

 9              MR. BUSCHEL:     Perhaps the government and I have

10   Mr. Stone's agreement.      There are a couple of matters I'm

11   not sure if the Court per se.

12              THE COURT:     Very well.     Let me ask you to use the

13   podium microphone, please.      Would you like a moment to

14   confer with Mr. Marando?

15              MR. MARANDO:     Your Honor, what Mr. Buschel --

16              THE COURT:     Mr. Marando.

17              MR. MARANDO:     Yes, thank you, your Honor, Michael

18   Marando.

19              What Mr. Buschel has referred to is the parties

20   have come to an agreement to designate this matter as a

21   complex case, and we will be filing a motion with the Court,

22   your Honor, as per normal course to get this matter so

23   designated, and also the parties have agreed to a protective

24   order regarding discovery which, of course, the government

25   will submit via motion per this Court's normal practice.
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 1              THE COURT:     Very well.   I will suggest that both

 2   of you be prepared to address those matters when you appear

 3   for the status hearing on Friday.       Thank you for bringing

 4   them to the Court's attention at this time.         Is there

 5   anything further on behalf of Mr. Stone, Mr. Buschel?

 6              MR. BUSCHEL:     No, thank you, judge.

 7              THE COURT:     Thank you, Mr. Buschel.      Mr. Marando,

 8   is there anything further on behalf of the United States?

 9              MR. MARANDO:     Nothing, your Honor.

10              THE COURT:     Thank you very much.     That concludes

11   this matter.

12              [Thereupon, the proceedings adjourned at 11:14

13              a.m.]

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 1                              CERTIFICATE

 2             I, Cathryn J. Jones, an Official Court Reporter

 3   for the United States District Court of the District of

 4   Columbia, do hereby certify that I reported, by machine

 5   shorthand, the proceedings had and testimony adduced in the

 6   above case.

 7             I further certify that the foregoing 9 pages

 8   constitute the official transcript of said proceedings as

 9   transcribed from my machine shorthand notes.

10             In witness whereof, I have hereto subscribed my

11   name, this the 29th day of January, 2019.

12

13
                                     /s/_Cathryn J. Jones
14                                   Cathryn J. Jones, RPR
                                     Official Court Reporter
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                                    additional [1] 7/11                    change [1] 6/3
         Case 1:19-cr-00018-ABJaddress
                                 Document      25 Filed 02/05/19charges
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                                                                            of 13
MR. BUSCHEL: [11]
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MR. MARANDO: [7] 5/3 5/8 5/11 6/1
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MS. RHEE: [1] 5/17
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THE COURT: [26]
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THE DEFENDANT: [4] 6/11 7/12 7/22
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29 [1] 1/5                          Attorney-at-Law [2] 1/19 1/22          DEBORAH [1] 1/9
29th [1] 10/11                      AUSA [2] 1/12 1/12                     defendant [3] 1/6 1/19 3/11
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January 30th [1] 4/25                                                           requesting [1] 6/2
                                        note [1] 7/18
January 31st [1] 5/1                                                            required [2] 3/15 7/5
                                        notes [1] 10/9
JASON [2] 1/5 3/4                                                               respect [2] 4/11 8/7
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Jeannie [2] 1/15 3/6                                                            return [1] 7/4
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jointly [1] 5/22                                                                review [1] 4/6
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Jonathan [2] 1/12 3/6                                                           Rhee [5] 1/15 3/6 5/16 5/17 6/1
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JR [2] 1/5 3/5                                                                  Robert [2] 1/19 3/7
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